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4                         UNITED STATES DISTRICT COURT

5                        EASTERN DISTRICT OF CALIFORNIA

6

7    DAVID HEDRICK, et al.,               No. 2:76-cv-00162-GEB-EFB
8                  Plaintiffs,
9         v.
10   JAMES GRANT, et al.,
11
                   Defendants.
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13
     Estate of BERTRAM HISCOCK,
14   deceased, by and through             No. 2:17-cv-02706-JAM-GGH
     VINCENT HISCOCK, as
15   Administrator; SHERRICK
     HISCOCK,
16
                   Plaintiffs,
17                                        ORDER
          v.
18
     COUNTY OF YUBA; COUNTY OF
19   SUTTER; SHERIFF-CORONER
     STEVEN L. DURFOR, in his
20   individual capacities and
     official capacities; TONY
21   HOBSON, in his individual and
     official capacities; JOAN
22   ODOM, M.D., in her individual
     capacity,
23
                   Defendants.
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26              On December 28, 2017, counsel for plaintiffs in case
27   number 2:17-cv-02706-JAM—GGH filed a “Notice of Related Cases,”
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     Case 2:17-cv-02706-JAM-GGH Document 6 Filed 01/03/18 Page 2 of 2

1    in which it seeks to have its case related to case number 2:76-

2    cv-00162-GEB-EFB.      Plaintiffs state in pertinent part:

3                 Plaintiffs’ claims for relief arise from the
                  death by suicide of Bertram Hiscock in the
4                 Yuba County Jail on January 29, 2017, and are
                  based   on  violations   of   the   First  and
5                 Fourteenth    Amendments     of    the    U.S.
                  Constitution, the Americans with Disabilities
6                 Act, and California state law. Plaintiffs
                  allege that Defendants failed to provide Mr.
7                 Hiscock with necessary and adequate medical
                  and    mental    health     treatment,    were
8                 deliberately indifferent to serious risk of
                  harm, and discriminated on the basis of
9                 psychiatric disability.
10                Hedrick v. Grant is a class action against
                  Yuba County officials on behalf of inmates
11                incarcerated at Yuba County Jail and a
                  Consent Decree was entered by the Court in
12                that action in 1979 that, inter alia, relates
                  to provision of medical and mental health
13                treatment and suicide prevention at the Jail.
14   Mot.   to    Relate   1:8–18,   ECF   No.   224   in   2:76-cv-00162-GEB-EFB.

15   The action will not be reassigned as a related case because it

16   has not been shown that assignment to the same judge is likely to

17   effect a substantial savings in judicial effort.

18   Dated:      January 3, 2018

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